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                     EXHIBIT 3
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                                 IN THE
                        SUPREME COURT OF VIRGINIA
                              _____________

                                Record No. 230197

                                    J.M. and S.M.,

                                     Petitioners,

                                          v.

                                    A.A. and F.A.,

                                    Respondents.

                                   ______________

                    NOTICE OF SUPPLEMENTAL AUTHORITY
                               ______________

               On Petition for Review of Interlocutory Appeal from the
                 Court of Appeals of Virginia (Case No. 1855-22-2)

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         Petitioners J.M. and S.M. write pursuant to Rule 5:6A to notify the Court of a

   recent change to Code § 17.1-405 that materially affects this case. Recognizing the

   anomaly created by the Court of Appeals in this case, the Governor recommended

   changing Code § 17.1-405(4) to again include Code § 8.01-675.5 to clear all doubt

   that the Court of Appeals has subject matter jurisdiction. See Senate Bill No. 810

   (Proposed by the Governor on March 27, 2023) (attached). The text of the bill also

   states that the change is “declarative of existing law” and “this act is in force from

   its passage.” Id. On April 12, 2023, the House of Delegates and the Senate

   unanimously approved the Governor’s recommended adoption. SB 810, Virginia’s

   Legislative         Information          System,          https://lis.virginia.gov/cgi-

   bin/legp604.exe?ses=231&typ=bil&val=sb810 (last accessed April 13, 2023).

         Because of this change, there is no question that the Court of Appeals has

   discretionary jurisdiction to consider J.M. and S.M.’s interlocutory appeal. As such,

   J.M. and S.M. respectfully request this Court to grant J.M. and S.M.’s petition for

   appeal, vacate the decision below, and remand to the Court of Appeals for further

   proceedings and to reconsider whether to grant J.M. and S.M.’s petition for appeal.

         I certify the foregoing response contains 198 words and complies with the

   requirements of Rule 5:6A.

   Dated: April 13, 2023                  /s/ John S. Moran
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                           CERTIFICATE OF SERVICE

         I, John S. Moran, certify that I served the foregoing on all counsel of record

   listed below.

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   Respectfully Submitted,            /s/ John S. Moran
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                                                               2023 SESSION
                                                                                                       SENATE SUBSTITUTE


                    23107669D
                1                                               SENATE BILL NO. 810
                2                               AMENDMENT IN THE NATURE OF A SUBSTITUTE
                3                                              (Proposed by the Governor
                4                                                  on March 27, 2023)
                5                                     (Patron Prior to Substitute––Senator Petersen)
                6   A BILL to amend and reenact §§ 8.01-626, 8.01-675.5, and 17.1-405 of the Code of Virginia and to
                7        amend the Code of Virginia by adding a section numbered 8.01-670.2, relating to review of
                8        injunction; petitions for review; appeal of interlocutory orders and decrees; emergency.
                9        Be it enacted by the General Assembly of Virginia:
               10   1. That §§ 8.01-626, 8.01-675.5, and 17.1-405 of the Code of Virginia are amended and reenacted
               11   and that the Code of Virginia is amended by adding a section numbered 8.01-670.2 as follows:
               12        § 8.01-626. Review of injunction; petitions for review.
               13        When a circuit court (i) grants a preliminary or permanent injunction, (ii) refuses such an injunction,
               14   (iii) having granted such an injunction, dissolves or refuses to enlarge it, or (iv) enters an order




                                                                                                                                     SENATE
               15   reviewable pursuant to subsection B of § 8.01-675.5 § 8.01-670.2, an aggrieved party may file a petition
               16   for review with the clerk of the Supreme Court within 15 days of the circuit court's order.
               17        The clerk shall assign the petition to a three-justice panel of the Supreme Court. The aggrieved party
               18   shall serve a copy of the petition for review on the counsel for the opposing party, which may file a
               19   response within seven 15 days from the date of service unless otherwise determined by the court
               20   determines a shorter time frame. The petition for review shall be accompanied by a copy of the
               21   proceedings before the circuit court, including the original papers and the circuit court's order respecting
               22   the injunction. The Supreme Court may take such action thereon as it considers appropriate under the
               23   circumstances of the case.
               24        Nothing in this section shall be construed to prevent the Supreme Court from resolving a petition for
               25   review by an order joined by more than three justices.
               26        § 8.01-670.2. Appeal of interlocutory orders and decrees; immunity.
               27        A. When, prior to the commencement of trial, the circuit court has entered in any pending civil
               28   action an order granting or denying a plea of sovereign, absolute, or qualified immunity that, if
               29   granted, would immunize the movant from compulsory participation in the proceeding, the order is




                                                                                                                                     SUBSTITUTE
               30   eligible for immediate appellate review. Any person aggrieved by such order may, within 15 days of the
               31   entry of such order, file a petition for review with the Supreme Court in accordance with the procedures
               32   set forth in § 8.01-626.
               33        B. No petition under this section shall stay proceedings in the circuit court unless the circuit court
               34   finds or the Supreme Court orders such a stay upon a finding that (i) the petition could be dispositive of
               35   the entire civil action or (ii) there exists good cause, other than the pending petition or appeal, to stay
               36   the proceedings.
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               37        C. The failure of a party to seek interlocutory review in accordance with this section shall not
               38   preclude review of the issue on appeal from a final order. An order by the Supreme Court denying
               39   interlocutory review in accordance with this section shall not preclude review of the issue on appeal
               40   from a final order, unless the order denying such interlocutory review provides for such preclusion.
               41        § 8.01-675.5. Appeal of interlocutory orders and decrees by permission; immunity.
               42        A. When, prior to the commencement of trial, the circuit court has entered in any pending civil
               43   action an order or decree that is not otherwise appealable, any party may file in the circuit court a
               44   motion requesting that the circuit court certify such order or decree for interlocutory appeal.
               45        The motion shall include a concise analysis of the statutes, rules, or cases believed to be
               46   determinative of the issues and request that the court certify in writing that the order or decree involves
               47   a question of law as to which (i) there is substantial ground for difference of opinion; (ii) there is no
               48   clear, controlling precedent on point in the decisions of the Supreme Court of Virginia or the Court of
               49   Appeals of Virginia; (iii) determination of the issues will be dispositive of a material aspect of the
               50   proceeding currently pending before the court; and (iv) it is in the parties' best interest to seek an
               51   interlocutory appeal. If the request for certification is opposed by any party, the parties may brief the
               52   motion in accordance with the Rules of Supreme Court of Virginia.
                                                                                                                                     SB810S1




               53        Within 15 days of the entry of an order by the circuit court granting such certification, a petition for
               54   appeal may be filed with the Court of Appeals. If the Court of Appeals determines that the certification
               55   by the circuit court has sufficient merit, it may, in its discretion, permit an appeal to be taken from the
               56   interlocutory order or decree and shall notify the certifying circuit court and counsel for the parties of its
               57   decision.
               58        The consideration of any petition and appeal by the Court of Appeals shall be in accordance with the
               59   applicable provisions of the Rules of the Supreme Court of Virginia and shall not take precedence on
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60    the docket unless the court so orders.
61        B. When, prior to the commencement of trial, the circuit court has entered in any pending civil
62    action an order granting or denying a plea of sovereign, absolute, or qualified immunity that, if granted,
63    would immunize the movant from compulsory participation in the proceeding, the order is eligible for
64    immediate appellate review. Any person aggrieved by such order may, within 15 days of the entry of
65    such order, file a petition for review with the Supreme Court in accordance with the procedures set forth
66    in § 8.01-626.
67        C. No petitions or appeals under this section shall stay proceedings in the circuit court unless the
68    circuit court or appellate court orders such a stay upon a finding that (i) the petition or appeal could be
69    dispositive of the entire civil action or (ii) there exists good cause, other than the pending petition or
70    appeal, to stay the proceedings.
71        D. C. The failure of a party to seek interlocutory review under this section shall not preclude review
72    of the issue on appeal from a final order. An order by the Supreme Court or Court of Appeals denying
73    interlocutory review under this section shall not preclude review of the issue on appeal from a final
74    order, unless the order denying such interlocutory review provides for such preclusion.
75        § 17.1-405. Appellate jurisdiction –– Administrative agency, Virginia Workers' Compensation
76    Commission, and civil matter appeals.
77        Unless otherwise provided by law, any aggrieved party may appeal to the Court of Appeals from:
78        1. Any final decision of a circuit court on appeal from (i) a decision of an administrative agency, or
79    (ii) a grievance hearing decision issued pursuant to § 2.2-3005;
80        2. Any final decision of the Virginia Workers' Compensation Commission;
81        3. Except as provided in subsection B of § 17.1-406, any final judgment, order, or decree of a circuit
82    court in a civil matter;
83        4. Any interlocutory decree or order pursuant to § 8.01-267.8 or 8.01-675.5;
84        5. Any interlocutory decree or order involving an equitable claim in which the decree or order (i)
85    requires money to be paid or the possession or title of property to be changed or (ii) adjudicates the
86    principles of a cause; or
87        6. Any final judgment, order, or decree of a circuit court (i) involving an application for a concealed
88    weapons permit pursuant to Article 6.1 (§ 18.2-307.1 et seq.) of Chapter 7 of Title 18.2, (ii) involving
89    involuntary treatment of prisoners pursuant to § 53.1-40.1 or 53.1-133.04, or (iii) for declaratory or
90    injunctive relief under § 57-2.02.
91    2. That the provisions of this act amending § 17.1-405 of the Code of Virginia are declarative of
92    existing law.
93    3. That an emergency exists and this act is in force from its passage.
